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% - OTE ORDER


                                      ORDERED.
  Dated: January 24, 2020




                   IN THE UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

DIOGENES E PENA                                      Case No. 9:19-bk-10132-FMD


                    Debtor.                      /

    ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM OF EXEMPTION

        THIS CASE came before the Court without hearing on the Trustee's Objection to Claim of
Exemption (Doc. No. 9). The Objection was served by negative notice and the Court finds that no
objections have been filed and the Debtor has failed to file a response. Accordingly, it is

        ORDERED that the Trustee's Objection to Claim of Exemption is sustained to the extent
that the value of the Debtor personal property exceeds available exemptions.

      IT IS FURTHER ORDERED that Debtor is not entitled to claim tenants by the entireties
exemption.

       IT IS FURTHER ORDERED that the Debtor exemptions are limited to the allowable
exemption limits permitted by the exemption scheme applicable to this case and all property that
exceeds such amounts shall be deemed property of the estate and subject to administration.

        IT IS FURTHER ORDERED the Debtor shall have the right to designate which specific
assets the Debtor wishes to retain within the exemption entitlement. In the even there is a dispute
as to the value of property claimed as exempt, the Court shall determine the value of the property
in connection with a motion for turnover.

         IT IS FURTHER ORDERED that this Order is entered without prejudice to the Debtor
claim that the property is exempt or immune under provision of law other than those provisions
limiting the value of exemptions. The Debtor may contact the Trustee to discuss purchasing the
estate's interest in the pertinent asset.
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Trustee Robert E. Tardif Jr. is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of this order.
